

Matter of Ireisha P. (Shonita M.) (2017 NY Slip Op 07078)





Matter of Ireisha P. (Shonita M.)


2017 NY Slip Op 07078


Decided on October 6, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 6, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, LINDLEY, DEJOSEPH, AND WINSLOW, JJ.


1132 CAF 15-01653

[*1]IN THE MATTER OF IREISHA P. AND JORDAN P. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; SHONITA M., RESPONDENT-APPELLANT. (APPEAL NO. 3.)






CHARLES J. GREENBERG, AMHERST, FOR RESPONDENT-APPELLANT.
ELISABETH M. COLUCCI, BUFFALO, FOR PETITIONER-RESPONDENT. 
BERNADETTE M. HOPPE, ATTORNEY FOR THE CHILDREN, BUFFALO.


	Appeal from an order of the Family Court, Erie County (Margaret O. Szczur, J.), entered September 14, 2015 in a proceeding pursuant to Social Services Law § 384-b. The order, among other things, revoked the suspended judgment issued on behalf of Shonita M. and terminated her parental rights with respect to the subject children. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Matter of Ireisha P. ([appeal No. 1] ___ AD3d ___ [Oct. 6, 2017]).
Entered: October 6, 2017
Mark W. Bennett
Clerk of the Court








